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 4   Attorneys for
     MOHAMMAD NASIR KHAN
 5
 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                 No. CR. S-09-436 MCE
                                         )
 9                     Plaintiff,        )                 UNOPPOSED MOTION AND
                                         )                 PROPOSED ORDER TO ALLOW
10                                       )                 MR. KHAN TO TRAVEL TO PAKISTAN
           v.                            )                 AND TO OBTAIN HIS PASSPORT
11                                       )
     MOHAMMAD NASIR KHAN, et al.,        )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          The defendant, Mohammad Nasir Khan, by and through his attorney, Bruce Locke, moves
15   the Court that it enter an order that the defendant be allowed to travel to Pakistan at or around
16   February 16, 2011 and to return to the United States at April 1, 2011. The defendant further moves
17   that the Court order the Clerk of Court to return Mr. Khan’s passport to him immediately so that he
18   can purchase his ticket to Pakistan and back. The reason for the trip is to attend the marriage of his
19   son. Assistant United States Attorney John Vincent has authorized the undersigned attorney to advise
20   the Court that the government does not have any objection to the granting of this motion.
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 1          The parties are in the process of resolving the case without trial. The next status conference
 2   is scheduled for April 7, 2011.
 3                                                 Respectfully submitted,
 4   DATED: February 3, 2011                             /S/ Bruce Locke
                                                   BRUCE LOCKE
 5                                                 Attorney for Mohammad Nasir Khan
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            IT IS SO ORDERED.
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10    Dated: February 8, 2011

11                                                 ________________________________
                                                   MORRISON C. ENGLAND, JR.
12
                                                   UNITED STATES DISTRICT JUDGE
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